   Case 1:20-cv-00757-MN Document 3 Filed 10/27/20 Page 1 of 2 PageID #: 47




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 LEE MORGAN Derivatively on Behalf of            )
 TILRAY, INC.,                                   )
                                                 )
                       Plaintiff,                )
                                                 )
                v.                               )   C.A. No. 20-757 (MN)
                                                 )
 BRENDAN KENNEDY, MICHAEL                        )
 AUERBACH, REBEKAH DOPP, MARY                    )
 SCOTT GREENWOOD, CHRISTINE ST.                  )
 CLARE, and MARK CASTANEDA,                      )
                                                 )
                       Defendants.               )
                                                 )
 TILRAY, INC.,                                   )
                                                 )
                       Nominal Defendant.        )

                                            ORDER

       At Wilmington, this 27th day of October 2020;

       WHEREAS, on June 6, 2020, Plaintiff Lee Morgan, derivatively on behalf of Tilray, Inc.

(“Plaintiff”) instituted this action by filing a Verified Stockholder Derivative Complaint (D.I. 1)

against Defendants Brendan Kennedy, Michael Auerbach, Rebekah Dopp, Mary Scott

Greenwood, Christine St. Clare, and Mark Castaneda and Nominal Defendant Tilray, Inc.

(collectively “Defendants”);

       WHEREAS, the Court docket indicates that to date no summonses have been issued;

       WHEREAS, Rule 4(m) of the Federal Rules of Civil Procedure requires Plaintiff to serve

Defendants within 90 days after the complaint is filed;

       WHEREAS, more than 90 days have elapsed since the filing of the complaint;

       WHEREAS, there is no indication on the docket that Defendants have been served;

       WHEREAS, Rule 4(m) provides:
   Case 1:20-cv-00757-MN Document 3 Filed 10/27/20 Page 2 of 2 PageID #: 48




               If a defendant is not served within 90 days after the complaint is
               filed, the court—on motion or on its own after notice to the
               plaintiff—must dismiss the action without prejudice against that
               defendant or order that service be made within a specified time. But
               if the plaintiff shows good cause for the failure, the court must
               extend the time for service for an appropriate period.

         THEREFORE, IT IS HEREBY ORDERED that, on or before November 5, 2019, Plaintiff

shall:

         1.    File returns of service (or executed waivers of service) indicating that service on

each Defendant was made within the 90 days prescribed by Rule 4(m); or

         2.    Show good cause for (a) the failure to serve Defendants and (b) why the Court

should extend the deadline for service (and for how long).




                                                    The Honorable Maryellen Noreika
                                                    United States District Judge




                                                2
